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10                                 UNITED STATES DISTRICT COURT

11                           NORTHERN DISTRICT OF CALIFORNIA

12                                      OAKLAND DIVISION

13

14     IN RE: CATHODE RAY TUBE (CRT)                Master File No. 4:07-cv-05944-JST
       ANTITRUST LITIGATION                         Case No. 4:13-cv-03234-JST
15
                                                    MDL No. 1917
16

17
       This Document Relates to:                    [PROPOSED] ORDER GRANTING
18                                                  MOTION FOR ORDER APPOINTING
       INDIRECT PURCHASER ACTIONS FOR               FUND ADMINISTRATOR AND
19     THE 22 STATES
                                                    AUTHORIZING DISTRIBUTION OF
                                                    SETTLEMENT FUNDS
20

21                                                  Hearing Date: July 28, 2022
                                                    Time:         2:00 p.m.
22                                                  Courtroom:    6, 2nd Fl. (Oakland)
                                                    Judge:        Hon. Jon S. Tigar
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     [PROPOSED] ORDER GRANTING IPPS’ MOTION FOR ORDER APPOINTING FUND ADMINISTRATOR AND
       AUTHORIZING DISTRIBUTION OF SETTLEMENT FUNDS; Master File No. 07-cv-5944-JST; MDL No. 1917
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1           The Court, having considered Indirect Purchaser Plaintiffs’ Motion for Order Appointing

2    Fund Administrator and Authorizing Distribution of Settlement Funds (“Motion”), the Declaration

3    of Joseph M. Fisher Re: Notice, Claims Processing and Distribution of the Net Settlement Funds

4    (“Fisher Declaration”), the pleadings and other papers on file in this action, and the statements of

5    counsel and the parties, and finding good cause appearing, hereby GRANTS the Motion as follows:

6           1.      The Notice Company, the previously Court-appointed Settlement Administrator, is

7    hereby appointed the Fund Administrator pursuant to 26 U.S.C. § 468B(g) and the related United

8    States Regulations of the “Indirect Purchaser CRT Antitrust Qualified Settlement Fund (“QSF”).

9           2.      In its capacity as Fund Administrator, The Notice Company shall determine and

10   perform the tax obligations of the QSF, including but not limited to income tax return filing, income

11   tax paying and information return reporting.

12          3.      The Escrow Agents, Citi Bank and Union Bank, are ORDERED to transfer all funds

13   related to the Escrow Accounts to the accounts established for the QSF at Western Alliance Bank

14   (“Western”) and administered by The Notice Company.

15          4.      The Notice Company shall not disburse, withdraw, or transfer any funds from the

16   QSF accounts at Western without written authorization from IPP Lead Counsel, Mario N. Alioto.

17          5.      The Notice Company’s claims review process and audit procedures, as set forth in the

18   Fisher Declaration, were fair, adequate, and reasonable, and provided a full and fair opportunity for

19   potential class members to submit a valid claim.

20          6.      The Notice Company’s conclusion that a $25 (twenty-five dollars) minimum payment

21   to each approved End User and Reseller claimant would conserve administration funds, and

22   therefore provide a greater net benefit to the class overall, is reasonable and is hereby approved.

23          7.      The Notice Company’s recommendations regarding the approved CRT Weighted

24   Units for each End User claimant (Exhibit D to the Fisher Declaration) and each Reseller claimant

25   (Exhibit E to the Fisher) are hereby adopted and approved.

26          8.      The Court authorizes distribution of the Chunghwa Net Settlement Fund to End User

27   and Reseller claimants as set forth in Exhibits D and E to the Fisher Declaration, in accordance with

28   the Court-approved Plan of Distribution for the Chunghwa Settlement.
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1           9.       The Court authorizes the distribution of the Net Settlement Funds for all other

2    settlements to End User claimants as set forth in Exhibits D to the Fisher Declaration, in accordance

3    with the Court-approved Plan of Distribution for those settlements.

4           10.      The Court approves IPPs’ proposal for paying claims filed after the applicable Court-

5    ordered deadlines (“Late Claims”) as fair and reasonable. Late Claims shall be paid as follows:

6                    a. Late Claims “on file” with the Settlement Administrator as of May 5, 2020, and

7                       approved by the Settlement Administrator, shall be paid at 50%-unit value, as

8                       compared with Timely Claims, which shall be paid at 100%-unit value;

9                    b. Placeholder Claims which, as of May 5, 2020, did not provide a good-faith

10                      number of CRT units purchased are not considered “on file” and shall not be paid;

11                   c. Claims filed after May 5, 2020 are rejected;

12                   d. Application of the 50% reduction to Late Claims shall not reduce the value of any

13                      such claim to less than the minimum payment of $25 (unless the minimum

14                      payment is reduced to less than $25 for all claimants);

15                   e. If any residual remains in the Net Settlement Funds after distribution checks

16                      become stale, such residual will be shared as follows (i) if the residual is less than

17                      or equal to $12 million, it shall be share pro rata by the Late Claimants, subject to

18                      a minimum threshold set at the Settlement Administrator’s discretion, and (ii) if

19                      the residual is more than $12 million, it shall be shared pro rata by all claimants,

20                      subject to a minimum threshold set at the Settlement Administrator’s discretion;

21                   f. The Settlement Administrator is authorized to conduct this second distribution of

22                      the residual funds without further Court approval.

23          11.      Checks issued to claimants by The Notice Company shall bear the notation “Non-

24   Negotiable After 180 Days” or “Void After 180 Days.” The Notice Company shall void all uncashed

25   checks following the expiration of the 180-day void date. The Notice Company may re-issue checks

26   as necessary.

27          12.      To the extent there are residual funds resulting from any uncashed checks after the

28   second distribution of funds outlined in Paragraph 11, these funds shall become a part of the QSF
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     [PROPOSED] ORDER GRANTING IPPS’ MOTION FOR ORDER APPOINTING FUND ADMINISTRATOR AND
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1    and Lead Counsel shall report to the Court the total amount and the suggested disposition of such

2    residual funds. These residual funds shall not be distributed except by order of the Court.

3           13.     The Court finds that the fees and expenses incurred by The Notice Company in

4    processing and auditing claims from September 1, 2021 through May 31, 2022 were reasonably

5    incurred in the ordinary course of administering the settlements and necessary given the nature and

6    scope of the case. The Court authorizes the payment of $99,240.13 to The Notice Company on a pro

7    rata basis from the Chunghwa Net Settlement Fund and the Net Settlement Funds for the other

8    settlements.

9           14.     The Court finds the expenses incurred by IPP Counsel for the continued prosecution

10   and settlement of this case to be fair and reasonable. The Court approves the $2,330,710.87 paid

11   from the Future Expense Fund and grants the motion for the reimbursement to IPP Counsel in the

12   amount of $345,171.76, to be paid on a pro rata basis from the Chunghwa Net Settlement Fund and

13   the Net Settlement Funds for the other settlements.

14          15.     The Notice Company’s estimate that its remaining work from June 1, 2022 to the

15   completion of final distribution will cost approximately $600,000 is reasonable, and the Court orders

16   that $600,000 be withheld on a pro rata basis from the Chunghwa Net Settlement Fund and the Net

17   Settlement Funds for the other settlements.

18          16.     The Court approves the reserve of $10,000,000 of the Net Settlement Funds, on a pro

19   rata basis, from funds distributed to claimants being awarded $1 million or more, for any

20   contingencies that may arise with respect to claims, to pay for any other future fees or expenses that

21   are authorized by the Court and incurred in connection with administering the Settlements, as well as

22   any further escrow fees, taxes, and the costs of preparing appropriate tax returns. Any unused portion

23   of the reserve funds shall be distributed to the claimants from which it is withheld when authorized

24   by the Court following a subsequent motion for distribution.

25          17.     Unless otherwise ordered by the Court, one year after distribution of the Net

26   Settlement Funds has commenced, The Notice Company may destroy the paper copies of the Proofs

27   of Claim and all supporting documentation and, one year after all funds in the Net Settlement Funds

28   have been distributed, The Notice Company may destroy electronic copies of the same.
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              IT IS SO ORDERED.
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     Dated:
5                                                   Hon. Jon S. Tigar
                                                    United States District Judge
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